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                                          UNITED STATES DISTRICT COURT
 6                                   CENTRAL DISTRICT OF CALIFORNIA

 7
      MATRIKA MISSOURI MORGAN,                                    Case No. 5:19-CV-02191 (VEB)
 8                           Plaintiff,                           JUDGMENT

 9    vs.

      ANDREW M. SAUL, Commissioner of Social
10    Security,

11                           Defendant.


12           For the reasons set forth in the accompanying Decision and Order, it is hereby DECREED THAT (1)

13   Plaintiff’s request for an order remanding this case for further proceedings is GRANTED and the

     Commissioner’s decision is REVERSED; (2) the Commissioner’s request for an order affirming the
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     Commissioner’s final decision and dismissing the action is DENIED; (3) judgment is entered in Plaintiff’s
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     favor and this case is REMANDED for calculation of benefits; and (4) this case is CLOSED without prejudice

16   to a timely application for attorneys’ fees and costs.

17           DATED this 21st of October 2020


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                                                    /s/Victor E. Bianchini
                                                    VICTOR E. BIANCHINI
19                                             UNITED STATES MAGISTRATE JUDGE

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                            JUDGMENT – MORGAN v SAUL 5:19-CV-02191-VEB
